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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

UNITED STATES OF AMERICA

v                                               Case No.: 8:21 -CR-348-T-SCB-SPF

JEREMY BROWN


 RESPONSE I N OPPOSITION TO THE UNITED ST ATES'MOTION FOR
                 PROTECTIVE ORT) ER RE GARDING DISCOVERY

         COMES NOW, the Defendant, JEREMY BROWN, by and through his

undersigned counsel, and files this response      in opposition to the united states'

Motion for Protective order Requiring Discovery. Doc.74. In sum, many of the

provisions of the proposed protective order are not necessary, overly broad, or too

vague.

I.    Procedural an d Factual Historv

         1. On   September 29,2021 Mr. Brown was charged via criminal complaint

           with entering and remaining on a restricted building or grounds in

           violation of 18 U.S.C. g 1752(a)( I ), and disorderly and disruptive conduct

           in a restricted building or grounds in violation of 18 U.S.C. g1752(a)(2),

           8:21-mj-1990-SPF. These misdemeanor charges are pending in

           Washington D.C.

     2. On September 30,2021, Mr. Brown         was arrested at his home in Tampa,
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           Florida based on an arrest warrant issued out of the United states District

           court for the District of columbia. The D.c. court also issued a search

           warrant for Mr. Brown's home, recreational vehicle (R.V.), and trailer in

           Tampa, Florida. Mr. Brown intends to file a motion to suppress based on

           the complete lack ofprobable cause set forth in the search warrant

           affidavit.

      3.   On October 1,2021, Mr. Brown was charged via criminal complaint with

           possessing firearms not registered to him in violation of 26 U.S.C.
                                                                                 $

           s861(d). 8:2 I -mj- 199 I -SPF.

      4.   On October 19,2021, the United States filed an Indictment against Mr.

           Brown charging the following: 1) possessing a frrearm with a barrel less

           than l8 inches and not registered to him in violation of 26 U.S.C. $$5961

           and 5871; 2) possessing a firearm with a barrel less than   l6 inches not

           registered to him in violation of 26 U.S.C. g5841; 3) knowingly

           possessing a destructive device in violation of 26 U.S.C. g5841; a)

           knowingly possessing a destructive device in violation of 26 U.S.C.

           $5841; and 5) knowingly storing explosive material not in conformity

           with regulations promulgated by the Attomey General in violation of l8

           U.S.C. $$842(i) and (b), and 27 C.F.R. g 555.201. Doc. 21.

      5. The United     States has provided undersigned counsel with discovery in




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            this case. Prior to the filing of its Motion for protective order, the United

            States informed undersigned counsel that         it intended to file   a motion for a

            protective order. While these negotiations were on-going, undersigned

            counsel informed the United States that he would abide by the conditions

           of the proposed protective order until the Court makes a final ruling.r

II.     Arsument and Mem orandum of Law

        Under the Sixth Amendment to the united States Constitution,                       "[i]n   all

criminal prosecutions, the accused shall enjoy the right to a speedy and public

trial." Mr. Brown intends to have just         that - a fair, open, and public     trial. It must
be said at the outset that Mr. Brown is an American hero and            patriot. He served his

country for over twenty years in the Army. Seventeen of those years he spent in

Special Forces operations connected with the Green Berets. Mr. Brown has been

deployed all over the world and placed himself in harms way to defend this country

and the liberties this county was founded        on. He    has served this nation in military

operations in Afghanistan, Africa, Columbia, and Sri Lanka just to name a few

deployments. Mr. Brown has no criminal history and has been a loyar and law

abiding citizen his entire life.




I Prior
        to the govemment informing defense counsel of its intention to file a motion for a
protective order, counsel gave Mr. Brown a copy ofthe search warrant and affidavit in support.
The United states is aware of this. Mr. Brown has not seen and does not have copies of any
other documents, photographs, or videos provided in discovery at the time of thisfrling.
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      Mr. Brown opposes the proposed protective order filed by the United States

because the provisions of the protective order are not necessary, overly broad, or

too vague. The charges Mr. Brown faces before this Court are weapons charges

based on the weapons that were allegedly located       in his home and trailer found

during the execution of a search warrant issued by a district court in the District of

columbia. In sum, the united States alleges Mr. Brown       possessed two short barrel

firearms that were not properly registered        to him, possessed two     destructive

devices, and failed to properly store the destructive devices in accordance with

regulations promulgated by the Attomey General. Counsel cannot discern how any

of the discovery conceming the charges before this Court are in need of             the

protective order proposed by the United States.

      Mr. Brown is also currently charged in the District of Columbia with two

misdemeanor trespass counts for allegedly standing        in the wrong place at     the

capital on January 6,2021 and causing "disruptive conduct" while doing so. There

are no allegations or evidence that   Mr. Brown ever went inside the capital, had any

illegal weapons on his person, or caused or participated in any violence. The

events of January 6 occurred almost one year ago. The United States govemment

was aware of Mr. Brown's intention to go to the Capital even before he left for the

Capital. The United States was aware that Mr. Brown actually went to the Capital

on the day he   did. Mr. Brown   has publically stated for almost a year that he was in




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washington D.c. at the capital as part        of the rally in part organized by     the

President   of the united States. Mr. Brown's alleged actions for his role in the

"January 6 riot" have lead to two misdemeanor trespass charges.          At   best, the

United States' allegations against Mr. Brown, as to January 6, are that he was

standing on the wrong side of a barrier outside the capital building and engaged in

misdemeanor "disruptive conduct" while doing      so. Both allegations, even if   true,

only rise to the level of misdemeanor charges. That said, a district court in

washington D.C. issued a search warrant for Mr. Brown's home, trailer and R.v.

in Tampa, Florida, which lead to the weapons charges before this Court. As

previously stated, the search warrant issued by the D.c. court will be addressed in

Mr. Brown's motion to suppress. None of the discovery associated with             these

misdemeanor charges gave rise to the level ofprotection needed as set forth by the

United States in its proposed protective order.

   I.   The United Should be Reo uired to So ecificallv Desis nate What Items it
        Deems Fall Under the Pro DO sed Protective Order


        Mr. Brown contends that all of the discovery pertaining to the   case before

this court, the weapons charges, should not be subject to the proposed protective

order    The govemment has not specified what documents are subject to the

proposed protective order. The government gives broad general statements such as

counsel shall not provide Mr. Brown with:




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           a    (a) Records obtained from digital down loads, and            searches     of
                electronic communications (e.g. email, and social media), of

                individuals other than the Defendant;

          o     (f) Federal law enforcement reports that contain tips and/or witness

                lnterviews.

                Doc.74,ExhibitCfl4.

       As to the first example, many of the emails and social media discovery             is

already in the public realm. There is no basis for an order protecting material that

was and is still publically available. As to the second example, Mr. Brown's life

partner, Tylene Aldridge, was interviewed by law enforcement and there are police

reports associated with her. Does the above encompass any information as to Ms.

Aldridge?      If   so,   why? what does the word "tips" mean and which       documents

does this word refer too?

       In addition, the proposed protective order         states that the viewing   of   the

materials outlined         in   paragraph   4 of the proposed   protective order must be

supervised. This overly broad and vague statement necessitates the following

questions: For what reasons? Supervised by whom? counsel? A guard at the jail?

Is counsel required to sit in the room which Mr. Brown reads through discovery?

      Further, in an exceedingly broad and overreaching portion of the proposed

protective order, the United States states that:



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       This Order does not apply to discovery materials that are, or later become,
       part of the public record, including materials that have been received in
       evidence in this or other public trials or hearings, or materials that are
       publically released by the U.S. Attomey's Office, the Department of Justice
       or the U.S Capital Police, except that any video designated as ..security
       information" under 2 U.S.C. 1979 may never be provided to Defendant
       regardless of publication." (emphasis in original).

       Doc.74 at 6 fl 13. Does this mean that the government can ultimately decide

what materials Mr. Brown may have access to even      if   those materials are part   of
the case against him and have been used in a public hearing? once the United

States puts the label "securiqr information" on a video, does    Mr. Brown have the

right to challenge this before the court? Under what conditions and criteria would

the united States use in determining whether a video should be designated             as

"security information"?

       In its motion for a protective order, the govemment cites United      States v.

Dent,2017 WL 1025162 (C.C.D. Cal. Mar. 15,ZOl7, but does not adhere ro how

the government conducted itself during the discovery process in that case. Doc. 74

at   8. In Dent, the govemment produced 60,000 pages of discovery. The
govemment de-designed most of the classified protected information and claimed

I'100 pages, 114 images, and 569 pages ofplea agreements should be covered by

the protective order. Id.

       In the case before this court, the govemment has not specifically designated

any discovery materials to be covered by the proposed protective order. The



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govemment has merely set forth overly broad and vague descriptions of the types

materials that would fall under the protective order and leaves it to counsel and Mr.

Brown to try and determine which materials the govemment is intending to be

protected. certainly, the government must know exactly which materials it intends

to be protected under the proposed order.

         As such, and as was the case in Dent, this Court should require            the

govemment to specifically state which items in discovery it deems falls under the

ambit of the protective order to give Mr. Brown, counsel, and this court some

guidance going forward. The united States has failed to do         so.   Based on this

alone, this Court should deny the government's motion to approve the proposed

protective order as submitted to the Court.

   II.     The Government F ails to Esta blis h The Need for a Protective Order
           Under the Case Law the Government C ites in its Motion

         In its motion, the government          states that "[g]ood cause requires a

particularized,, specific showing, " and cites to United States   v. Wecht 484   F.3d

194,21I (3d Cir.2007). Doc. 74 at7. Mr. Brown agrees. In Wecht, the Third

Circuit affirmed the district court's decision not to impose a protective order. The

Third Circuit stated that:

      Good cause is established on a showing that disclosure will work a clearly
      defined and serious injury to the party seeking closure. The injury must be
      shown with specificity. Broad allegations of harm, unsubstantiated by
      specific examples or articulated reasoning, do not support a good cause
      showing. The good cause determination must also balance the public's


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       interest in the information against the injuries that disclosure would cause.

       Id. intemal citations omitted.

       In the case before this Court, the united states has merely cited to broad

allegations of possible and speculative harm that might arise if Mr. Brown is given

copies his discovery. Under the case law supplied by the govemment to this court,

the united States has failed to establish good cause. For example, the government

argues that since his arrest Mr. Brown has participated in interviews.      Doc.74 at4.

Mr. Brown has a First Amendment right to participate in interviews, and the

United States has failed to show with specificity how Mr. Brown's participation in

interviews   will   lead to "a clearly defined and serious injury to the [govemment]".

Wecht, 484 F .3d at     2ll.
      Additionally, in its motion for protective order, the govemment cites a 4-part

test this Court should employ to determine whether there is a need for a protective

order in this case. Doc.74 at        8.   The goverrrment writes that   "[i]n   determining

whether a protective order is appropriate, courts consider factors such as the 'safety

of witnesses, a particular danger of perjury or witness intimidation, the protection

of information vital to national security, and the protection ofbusiness enterprises

from economic reprisals." Id. Applying this test to both the discovery conceming

the weapons charges, which are the only charges before this Court, but                 also




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 applying this test to the January 6 investigation into Mr. Brown, the United States

 has completely failed to establish the need for this Court to issue a protective order.

         A.    A Protective Order is Not Necessa rv for An Discove rv Pertainin ],
               to the Weapons Char ges

         The D.C. Court issued a search warrant of Mr. Brown's home, R.V., and

 trailer. The FBI       executed the search warant and weapons were found.

 Essentially, all the witnesses in the case, based on counsel's review of discovery,

 will   be FBI agents and weapons   experts. The United   States has completely failed

to satisfr any prong of the 4-part test as to the weapons discovery.

         As to the first and second prongs, the United States has failed to argue under

any standard that the discovery conceming the weapons charges needs to               be

protected to prevent safety of witnesses, perjury, or witness intimidation. The

evidence obtained in this case is based on a search warrant that was executed by

law enforcement. The govemment has also supplied reports by weapons experts.

The United States has cited no evidence, because there is none, that any law

enforcement officer or weapons expert might be threatened or perjure themselves       if
Mr. Brown was able to obtain copies of discovery.

         As to the third prong, there is absolutely zero evidence that the discovery

connected to the weapons discovery is "information vital to national security." The

allegations as set forth in the Indictment are that Mr. Brown had weapons not

registered    to him, had destructive devices, and did not properly        store those

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destructive devices. That's    it.   There is nothing in the discovery relating to these

charges that can be deemed information vital to national security. As to the fourth

prong, there is absolutely zero evidence that any          of   evidence conceming the

weapons charges needs "protection            of    business enterprises from economic

reprisals." Therefore, the United States completely fails to establish the need for       a


protective under the 4-part test.

         The govemment claims that it discovered evidence of witness tampering on

 a   jail call. Doc. 74 at 3-4. This exhibit was admitted under seal at the motion to

reconsider the magistrate judge's order denying bond. Doc. 70, Exhibit 9H-T.

 While the magistrate judge did find some merit to this, Mr. Brown completely

 disagrees and submits that this    jail is utterly devoid any evidence that would   rise to

the level of witness tampering. The jail call is between Ms. Aldridge and Mr.

Brown. While on the phone, Ms. Aldridge, on her own accord, looks up the name

 of the FBI agent who came to her house on the public properfy appraisers website.

 Ms. Aldridge tells Mr. Brown over the phone where the agent's home is located,

 and Mr. Brown says he doesn't care about her house. That is          it.   Nothing more.

 We ask this Court to not only read the transcript of the jail call, but also listen to

the call. Doc. 70, Exhibit 9H-T. Mr. Brown is confident that the Court will find

 absolutely nothing in the call, wherein Mr. Brown is merely responding to Ms.

 Aldridge, even remotely rising to the level of witness tampering.



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      The Eleventh Circuit jury instruction for witness tampering is as follows:

      It's                to [use intimidation] [use physical force] [threaten
             a Federal crime
      another personl with intent to [influence] [delay] [prevent] the testimony of
      a witness in any proceeding in this Court.

      The Defendant can be found guilty of this crime only if all the following
      facts are proved beyond a reasonable doubt:

               (I) the person described in the indictment was [a witness] [scheduled
               to be a witnessl in this Court;

               (2) the Defendant used [intimidation] [physical force] [threats] against
               that person; and

               (3) the Defendant acted knowingly and intended to [influence] [delay]
               [prevent] the witness's testimony.
               To "intimidate" someone is to intentionally say or do something that
               would cause an ordinary person to fear bodily harm.

See Eleventh    Circuit Pattem Jury Instruction.
      The    jail call that was admitted under seal at the motion for reconsideration of

the magistrate's judge's order of detention does not remotely show that Mr.

Brown, or Ms. Aldridge for that matter, was using intimidation or physical force or

threats to knowingly intend to either influence, delay or prevent the FBI witness'

testimony for fear of bodily harm. Ms. Aldridge merely looked up the individual's

address on a public website and Mr. Brown really didn't care anything about her

address. Obviously, this is the only example of potential witness tampering that

the govemment has, for it certainly would have pointed to another example if there

was one, and even this example fails to show that Mr. Brown or Ms. Aldridge were

attempting to tamper with a witness.


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       The United States cites United States v. Aiken, 76 F. Supp. 1336 (S.D. Fla.

 1999) for the proposition that the govemment has shown good cause for the need

for a protective order. Doc.74 at 8. In Aiken, the defendant was charged with a

racketeering conspiracy, murder in aide ofracketeering, and other crimes. Id. at

 l34l . The court found that a protective order was appropriate because the

govemment had shown that members of criminal organization might retaliate

against cooperating witnesses. ld. at 1342. These are not even remotely the facts

in the case before this   court. There is no showing   at all that Mr. Brown intends to

retaliate and pose a danger against any witness at all, and thejail call filed under

seal, as demonstrated above, does not support such a finding.


       Accordingly,   as to the discovery as it pertains to the weapons charges, the

govemment has failed to satis& the need for a protective order under the very 4-

part test it cites. Therefore, this court should deny the govemment's motion for a

protective order.


      B.     The Propos ed Protective O rder is Unnecessa . Overlv Broad and
             too Va s ue Concernin g the Government's A DI)arent o n-soln p
             Investieation into January 6,2021

      To the extent that the        government disclosed discovery that contains

information about Mr. Brown's activities on January 6,         zozl at the capital     in

Washington D.C., the United States has also failed          to satis$, its need for    a

protective order under the 4-part test.


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        As to the first two prongs, the united States has completely failed to show

 any specific information that   if discovery were disseminated to Mr. Brown it would

 Iead to issues conceming the safety of witnesses, or a particular danger of perj ury

 or witness intimidation.

        The same holds true for prongs three and four. The united States has failed

 to show how any specific information if disseminated to Mr. Brown will somehow

 compromise the "protection       of information vital to national     security, and the

 protection of business enterprises from economic reprisals." Accordingly, under

 the standard that the united States sets forth, it has failed to establish the need for a

 protective order.

       Additionally, the United States has been ..investigating', Mr. Brown,s role in

the January 6 incident at the capital since January 6,     2ozl.    The govemment was

well aware of Mr. Brown's intention to go to the rally at the capital prior to him

going' Mr. Brown has publically         stated that he was at the capital grounds on

January   6.   The FBI contacted Mr. Brown many times conceming its investigation.

The govemment has spoken to witnesses about Mr. Brown's conduct at the capital

on January     6. After all of this investigation into Mr. Brown,   the government filed

two misdemeanor charges against him for his alleged conduct on January 6,2021          .



       The language of the protective order as to information conceming               the

January 6 investigation is overly broad and too vague. paragraph 4(d) of the



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 protective order states that counsel shall not provide               Mr. Brown      with

 "[i]nformation regarding the govemment's confidential source(s) or source(s) of

 information,    or   witnesses, including criminal histories, arrest records and

 summaries of information provided to the government." Doc. 74, Exhibit C !T4(d).

 Mr. Brown is left to guess first, what "source(s) of information" means,             and

 second, which documents this vague phrase pertains           to.   Does "source(s) of

 information" pertain to people? Videos? Social media posts? Emails?

       As was the case in Dent, the govemment should be required to specifo which

 discovery documents are subject       to protection. Again, the       government must

 certainly have a firm understanding       of which documents it thinks falls under
 paragraph   4 of the proposed protective order, and this Court should require         the

 government to share this information with Mr. Brown prior to seeking from this

 Court a broad, vague and all encompassing protective order.

       The proposed protective order also requires that "[f]ollowing a dismissal or

 acquiual in this case, defense counsel shall destroy or retum to the United States

 the discovery materials." Doc. 74., Exhibit A fl12. Opinion 81-8 of the Florida

 Professional Ethics Committee of the Florida Bar states "[a] lawyer who intends to

 dispose   of a client's files should make a diligent attempt to contact all clients and

 determine their wishes conceming the     files." This opinion   states two things: 1) the

 file belongs to the client and not the lawyer, and 2) the client and not the lawyer



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 gets   to determine what happens to file and its contents. The United         States has

 stated no reason for its position that   if Mr. Brown is acquitted   that it is necessary

 for counsel to destroy or return all discovery materials. The section of              the

 proposed order runs contrary to an attomey's obligation       for file retention. The
 majority of discovery pertains to weapons located on Mr. Brown's property, the

 reports detailing the execution     of the search     warrant, and weapons reports

 conceming the weapons       found. why this information must be destroyed             or

 retumed to the United States following a dismissal or acquittal is not clear.

         Accordingly, based    on the forgoing, this Court should deny                the

 Govemment's motion for a protective order based on the following grounds: l) the

 govemment has failed to designate what materials it deems fall under the ambit        of
the proposed protective order and 2) the govemment has failed to establish the

need for such a broad protective order under the 4-part test outlined in its own

 motlon.

        WHEREFORE, for the reasons stated herein, Mr. Brown respectfully

requests this   court deny the govemment's Motion for Protective order Regarding

Discovery.

        I   HEREBY CERTIFY that a copy of the foregoing motion has                  been

fumished by electronic filing using the CM/ECF system to Risha Asokan, United

States Attomey's Office, this 4th day     of JNruary,2022.


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                                    Respectfu   lly submitted,


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